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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                   4:09CR3031
                                          )
             V.                           )
                                          )
MICHAEL KONING, LOWELL                    )                     ORDER
BAISDEN, SUSAN BAISDEN-                   )
KONING,                                   )
                                          )
                    Defendants.           )
                                          )


       IT IS ORDERED that the plaintiff’s motion to extend time to file objections (filing
121) is granted. The plaintiff’s objections to the Magistrate’s Report and Recommendation
are due on or before September 28, 2010.


      DATED this 27th day of September, 2010.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
